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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS
                                 WITCHITA DIVISION

STEVEN DEAN,                      )
                                  )
         Plaintiff,               )
     v.                           )
                                  ) Case No.: 6:18-cv-01270-JWB
                                  )
CHW GROUP, INC. d/b/a CHOICE HOME )
WARRANTY,                         )
                                  )
         Defendant.               )
                                  )

                                 STIPULATION TO DISMISS

       Plaintiff, STEVEN DEAN, and Defendant, CHW GROUP, INC. d/b/a CHOICE HOME

WARRANTY, through their respective counsel below, and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), stipulate to dismiss this case, with prejudice, both sides to bear their

own fees and costs.

RESPECTFULLY SUBMITTED,

 AGRUSS LAW FIRM, LLC                               MOLNER LAW GROUP, LLC

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                                      CERTIFICATE OF SERVICE

       I certify that on June 28, 2019, a true and correct copy of the foregoing document was

electronically filed with the Court’s CM/ECF system to be sent via the electronic notification

system to all counsel of record.

                                             By: /s/ James J. Parr
                                                    James J. Parr, ARDC No. 6317921


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